                   Case 5:25-mj-70598-MAG
DOCUMENTS UNDER SEAL
                                                      Document 4        Filed 06/03/25 Page71minutes
                                                                          TOTAL TIME (m ins):
                                                                                              of 1
M AGISTRATE JUDGE                        DEPUTY CLERK                              REPORTER/DIGITAL RECORDING:
M INUTE ORDER                           Antionique Avist                           Liberty: 1:03pm - 1:10pm
MAGISTRATE JUDGE                         DATE                                      NEW CASE         CASE NUMBER
Susan van Keulen                         06/03/2025                                                 5:25-mj-70598-MAG - 1
                                                    APPEARANCES
DEFENDANT                                 AGE     CUST  P/NP   ATTORNEY FOR DEFENDANT                      PD.      RET.
Francisco De-Jesus Morales                        Y         P       Sophia Whiting (Provisionally Appt)    APPT.
U.S. ATTORNEY                             INTERPRETER                            FIN. AFFT                COUNSEL APPT'D
Taylor Lord                              Lupita Arce - Spanish                   SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER              DEF ELIGIBLE FOR              PARTIAL PAYMENT
                             Kim Do                                 APPT'D COUNSEL                OF CJA FEES
                                      PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR            PRELIM HRG       MOTION           JUGM'T & SENTG                             STATUS
                                                                                                              TRIAL SET
       I.D. COUNSEL              ARRAIGNMENT               BOND HEARING           IA REV PROB. or             OTHER
                                                                                  or S/R
       DETENTION HRG             ID / REMOV HRG            CHANGE PLEA            PROB. REVOC.                ATTY APPT
                                                                                                              HEARING
                                                   INITIAL APPEARANCE
        ADVISED                 ADVISED                 NAME AS CHARGED              TRUE NAME:
        OF RIGHTS               OF CHARGES              IS TRUE NAME
                                                      ARRAIGNM ENT
       ARRAIGNED ON               ARRAIGNED ON              READING W AIVED              W AIVER OF INDICTMENT FILED
       INFORMATION                INDICTMENT                SUBSTANCE
                                                       RELEASE
      RELEASED           ISSUED                    AMT OF SECURITY         SPECIAL NOTES                  PASSPORT
      ON O/R             APPEARANCE BOND           $                                                      SURRENDERED
                                                                                                          DATE:
PROPERTY TO BE POSTED                         CORPORATE SECURITY                       REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL               DETAINED           RELEASED       DETENTION HEARING              REMANDED
      FOR             SERVICES                                                 AND FORMAL FINDINGS            TO CUSTODY
      DETENTION       REPORT                                                   W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                            PLEA
    CONSENT                    NOT GUILTY                  GUILTY                   GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                CHANGE OF PLEA              PLEA AGREEMENT           OTHER:
    REPORT ORDERED                                         FILED
                                                      CONTINUANCE
TO:                              ATTY APPT               BOND                     STATUS RE:
06/10/2025                       HEARING                 HEARING                  CONSENT                   TRIAL SET

AT:                              SUBMIT FINAN.             PRELIMINARY            CHANGE OF                STATUS
                                 AFFIDAVIT                 HEARING                PLEA
1:00pm                                                     _____________
BEFORE HON.                      DETENTION                 ARRAIGNMENT            MOTIONS                   JUDGMENT &
                                 HEARING                                                                    SENTENCING
Susan van Keulen
       TIME W AIVED              TIME EXCLUDABLE           IDENTITY /             PRETRIAL                  PROB/SUP REV.
                                 UNDER 18 § USC            REMOVAL                CONFERENCE                HEARING
                                 3161                      HEARING
                                                ADDITIONAL PROCEEDINGS
DPPA advised. Defense counsel requests a criminal history only.



                                                                                        DOCUMENT NUMBER:
